Exhibit A
                              DECLARATION OF JEFFREY MARTIN
The undersigned, Jeffrey Martin, declares as follows:

   1. My name is Jeffrey O'Neal Martin. I hold a Bachelor's degree in Mathematics and
       Economics from Vanderbilt University and a Master's degree in Economics from the
       University of Chicago.
   2. I am employed as a consultant on statistical issues, a consultant on actuarial issues, and
       as a consultant to political campaigns. I have been qualified as an expert on statistical
       issues in Federal Courts and State Courts.
   3. Since 1997, I have been involved in cases involving challenges to the jury lists in Federal
       and State Courts.
   4. I have been asked by the Federal Defenders of New York to review the construction and
       implementation of the Master Jury Wheel and Qualified Jury Wheel that was used to
       select Grand Jurors in this case.
   5. In order to complete the review, I require data as listed in "Attachment 1" for data
       relating to the Grand Jury in this case.
   6. I am prepared to answer any questions the Court may have and will be glad to discuss
       ways in which the data can be delivered that best fits the way in which the Clerk's office
       operates.
   7. I do not seek any personal information that would allow the identification of any
       individual.
   8. The information requested is common to other reviews of Federal jury wheels that I
       have been asked to perform. The information requested herein has been provided to me
       in connection with my work as an expert in approximately 10 similar challenges
       brought on behalf of federal criminal defendants in this and other federal jurisdictions.
   9. In "Attachment 1" items #1 through #14 do not involve any personal or other
       information that could be used to identify any individual.
   10. In "Attachment 1" items #15 through #19 should only include the randomly generated
       Juror Number :md not the Name, Street Address, Day of Birth, or Month of Birth. In this
       way, no individual person can be identified.
   11. In "Attachment 1" item #20 should have the individual's Name and Street Address
       redacted in order to remove any personally identifiable information.
   12. In "Attachment 1" items #21 through #23 inherently include personally identifiable
       information. The personal information can be redacted or only supplied for inspection in
       the Clerk's office to safeguard personal information.
   13. Item #23 is requested to determine the demographic effects of the current pandemic on
       the operation of the grand jury in this case. This type of information is specific to the
       current pandemic and has not been requested in other reviews I have been asked to
       perform.



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